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MEDICAL RECORDS AFFIDAVIT

STATE OF TEXAS
COUNTY OF DALLAS

Personally appeared before me, the undersigned authority in and for the aforesaid

url sdiction, Mi dif lidnes.-(or-alternatively, bd I Ld, [Aus , Records

Custodian), who, upon his/her oath, stated that (1) he/she has first-hand knowledge of the
maintenance and/or storage of the attached records; (2) the attached records are a true and correct
copy of the medical records that were kept on file in the regular course of the examination,

evaluation, and/or treatment of Gary Brice McBay , Date of Birt: <x Social

Security No.: <a: and (3) the records were generated in the regular course and

activities of Cedars Hospital, Desoto, Texas , and made at or near the time of the matters set

forth by, or from information transmitted by, a person with knowledge of those matters.

I certify the above declaration is true and correct under penalty of perjury.

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My Commission Expires: beidtslictesusirmates

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THE CEDARS HOSPITAL

DISCHARGE SUMMARY
PATIENT NAME: Gary McBay
MEDICAL RECORD #: . 20991
ADMISSION DATE: 06-05-05
DISCHARGE DATE: 06-07-05
ATTENDING PHYSICIAN: _ Manoochehr Khatami, M.D.
‘DICTATED BY: ~~-Ray Garcia
INITIAL DIAGNOSIS:
AXIS I: Alcohol dependence.

AXIS IT: None.

AXIS III: None.

AXIS IV: Severe.

AXIS V: Current GAF is 35. Highest past year is 50.

DISCHARGE DIAGNOSIS:

AXIS I: Alcohol dependence.

AXIS I: None.

AXIS UI: None.

AXIS IV: Economic.

AXIS V: Current GAF is 45. Highest past year is 50.

IDENTIFICATION/REASON FOR ADMISSION: This 28-year-old male was admitted
for hospitalization as a result of significant alcohol use, identifying drinking up to a case of
beer per day. He indicated deterioration in self-care activities as well as amassing large beer
tabs. The patient was identifying impairments in concentration and attention spans, low
self-esteem, as well as isolative and withdrawn. He was drinking until he passed out. He
was assessed as at high risk for withdrawals as well as unable to maintain abstinent status
and therefore admitted for inpatient detoxification and stabilization.

PSYCHIATRIC HISTORY: The patient was indicating previous outpatient trials of
Ambien, Zoloft and Paxil with limited response with no other treatment interventions noted.

PHYSICAL STATUS: Medically stable.

LAB EXAMINATIONS: Drug screen results were negative. Ethanol levels below 10.
Urinalysis results in range.

HOSPITAL COURSE: The patient was admitted to the inpatient program to address
significant alcohol use, impending withdrawals, inability to abstain as well as lack of coping
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Gary McBay Discharge Summary
DOA: 06-05-05
Page 2

skills. He was initially placed on close observation status with the patient started on a
Valium countdown to address withdrawal symptoms.

He was initially having some difficulties adjusting to treatment milieu, preoccupied with

discharge, and wanting to leave treatment. He was encouraged to stay and agreed todoso,

especially in light of high relapse potential as well as high risk for withdrawals. He == oe

continued to benefit from medication administration in helping to alleviate severity of
withdrawal symptoms with vital signs stabilizing. He was encouraged to initiate Step work,
as well as encouraged to work on better utilizing external support. The need to work on
increasing awareness of the disease process was reinforced with the patient slowly better
engaging as well as better aware of his need for treatment. He was indicating plans to
pursue sponsorship as well as to pursue 12-Step participation. The patient was able to
identify reduction and subsequent cessation of further withdrawal symptoms as well as
indicating feeling better about himself and about the future. He was subsequently
discharged effective 06/07 to outpatient status.

CONDITION ON DISCHARGE: Somewhat improved. Affect and mood were more
stable. He was oriented x 3. Memories for recent and remote events were essentially intact.
No overt delusions or hallucinations were noted. Denying any overt suicidal or homicidal
thoughts. Insight and judgment had improved.

DISCHARGE MEDICATIONS: None noted.

DISCHARGE/AFTERCARE INSTRUCTIONS: The patient was encouraged to
continue with outpatient 12-Step meetings as well.as regular sponsor contact.

DIET: As tolerated.
ACTIVITY: As tolerated.

PROGNOSIS: Fair with continued follow up.

Abo

Manoochehr Khatami, M.D.
DICTATED BY: Ray Garcia
MK: RG/ke-mv/MT D: 06-06-06 T: 06-06-06 #01536

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PSYC SATRIC EVALUATION FC M

Patient's Name: 7 bt Male Age:
4 IMPIC E Ne BIA OiFemale | | 2a”
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by RBys by Physician: (2 FULD

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lL Moths Loar pectiost ble

Chief Complaint: fy. wad. Tee A nwach yon leap

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Precipitating Stresses: Pe SALAD Hom pmsthes other Ab 7 anappelo Bn
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_ History of Present lliness.

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Min-Mental Status Examination to be completed? ( Yes (If yes, see attached MMSE) SCORE:
CS] No

PATIENT IDENTIFICATION

Attending Physician:

PSYCHIATRIC
EVALUATION FORM

(Compiete at time of admission)

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PATIENT NAME LOCATION OF ASSESSMENT AT, TIME
Bary Me Buy Ceters b sf 05—
DA IR AGE SS# _ SEX MARITAL STATUS MR#
BIS /7b6 (2% | ESS- 7S~Y4I 9S sheine —aremae Ps am oD as ow
FAMILY PHYSICIAN PHONE# REFERRAL SQURCE
CO a
XK PRECIPITATING EVENT (Why is the patient seeking treatment at this time)

VE fiend gee before hevtoreD Newt
font

PRESENTING PROBLEM

4 hg OO, Gee

yo * CURRENT STRESSORS.

# Days Psychiatric __ in jast 30 days: # Days Marital problems in Jast 30 days: # Days CD problems in last 30 days:

Previous Diagnosis: SPN (Special Provider Network):

co von Diagnosis

Ke H Aleoho| Dep ns

Axis is NV:
Deferred Work

Axis HI: Axis V: —
Von €. 35

PREVIOUS PSYCHIATRIC & CHEMICAL DEPENDENCY TREATMENT HISTORY (Inpatient & Outpatient) f
WHERE DATE PSYCH OR CD WHERE DATE PSYCH OR CD

Outpatient Psychiatrist Phone Number
ee pL
Outpatient Therapist Dee Phone Number
RAPIER AIOE EENE: esonnutaancessteree vara eSATA ANTES ai peereetat ms AERA nae
PATIENT IDENTIFICATION
THE 2000 N. Old Hickory Trail
CEDARS DeSoto T 75445
TOSPITA L esoto, Texas /31

(972) 298-7323
www.cedarshospital.com

INTAKE PSYCHOSOCIAL ASSESSMENT

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ALCOh~./ DRUG USE (Past & Present) CONTIN. _D —_—_—_—
Ever experienced the following? jsBiackouts QO Hallucinations O Seizures Shakes
PX reese When and what: Atbcatct. frcdrnetss hee id abgptcet )

_aj Other consequences:

é

Pres

Withdrawal symptoms / Behaviors from alcohol or drug use:

© Aggressive / Assaultive OQ Cramps © Agitation C]) Weakness O Sweats

Change in Blood Pressure 0 Tingling petTachycardia Pianes sa Fever / Chills

(1 Nausea / Vomiting Sattremors Qi Irritability Q Delirium Anorexia

: N . r (/
If experienced these, when: wha Ae Arertttes Rt stint ty
Cc

gh ee. =
Does the patient have any medical problems that are related to alcohol or drug use? Q Yes he
if yes, list:

Nhat i is the longest period of sobriety? 2 3 Age When?

Does the patient have a sober support system? phe SQ No Sf so, who:

AAJ] NA Involvement: DS ves Q) No Sponsor, O Yes dsxfKio Last contact:
LEGAL HISTORY
Has patient ever been arrested? O Yes No. Number of times arrested: Reason for arrest:

em f) WE. Senin an PE

Arrests involving violence. O Yes QNo If Yes, Explain:

\_ éurrent or pag(Oni)ou ee fic moreso N34 es _ONo If yes, when and why:

Probation (Past or Present): Pres 2 No Why and When: detrrnrey
Parole (Past or Present): O Yes ce mo—aWhy and When:

proved in pending litigation / bankruptcy or other proceedings: Oi Yes Ko—t Yes, Explain:
SPIRITUAL ASSESSMENT

Religious Preference: 4

Do you believe ina higher power? O Yes ONo If yes, whe or what do you define as your higher power: Aen of

How do you connect with your higher power and/or feel connected to others?
PSYCHOSOCIAL ASSESSMENT

FAMILY HISTORY: (© No psych/chemical dependency. history
O Mental disorder (Who & What)
( Suicide in family (Who & When)
JekChemical Dependency (Who) 2p t-te) eo fain Ze. Lae

FAMILY & SOCIAL:

Number of Marriages: How Long? Current: Previous:
Number of Children: Ages:
| CHILDHOOD HISTORY: Describe any milestones;
PATIENT IDENTIFICATION
INTAKE PSYCHOSOCIAL
f . is x 7
ASSESSMENT me

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